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3
                                  UNITED STATES DISTRICT COURT
4
                                         DISTRICT OF NEVADA
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6
      UNITED STATES OF AMERICA,                          Case No. 2:11-cr-00327-JCM-CWH
7
                                            Plaintiff,
8                                                                      ORDER
             v.
9
      MICHAEL PAUL MATULICH,
10
                                          Defendant.
11

12          Presently before the court is petitioner Michael Paul Matulich’s motion to extend

13   deadline in this court’s June 4, 2015, order by one hundred eighty (180) days. (ECF No. 164).

14   The court finds no response necessary and further finds the motion properly resolved without

15   oral argument. See LR 78-1.

16          In the instant motion, petitioner moves for a one hundred eighty (180) day extension to

17   file a motion for sentence reduction. (ECF No. 164). Defense counsel states that she needs

18   additional time to prepare, research, and file the motion for sentence reduction. (ECF No. 164).

19          This matter has already been deferred two years pursuant to the parties’ stipulation (ECF

20   No. 161). (See ECF No. 163). Thus, the court will grant petitioner an extension of sixty (60)

21   days to file a motion for sentence reduction.

22          Accordingly,

23          IT IS HEREBY ORDERED that petitioner’s motion to extend deadline (ECF No. 164)

24   be, and the same hereby is, GRANTED IN PART consistent with the foregoing.

25          IT IS FURTHER ORDERED that petitioner shall file within sixty (60) days of the entry

26   of this order, a motion for sentence reduction.

27          DATED THIS 2nd day of May, 2017.

28                                                           JAMES C. MAHAN
                                                             UNITED STATES DISTRICT JUDGE
